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^lizabetl^Sonnenbei^
From:                              Alex MacDonald <alexmacdonald05@gmail.com>
Sent:                              Tuesday, May 9, 2023 1:44 PM
To:                                Elizabeth Sonnenberg
Subject:                           JetBlue Spirit Merger


CAUTION-EXTERNAL:



Hi Elizabeth,

Can you persuade Judge William Young to approve the JetBlue Spirit merger? Those two combined airlines will not
create a monopoly in the airline industry, not even close. And as far as ultra low cost airlines go. Frontier, Allegiant, and
Sun Country Airlines all still exist, and compete in the ultra low cost space.

Thank you.

Alex

CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.
